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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

In re:

QUAN DINH TRAN,                                   Case No.: 8:20-bk-05750-CPM
                                                  Chapter 7
         Debtor.
                                          /

         UNOPPOSED MOTION TO CONTINUE AUGUST 2 HEARINGS

         Q3 Investments Recovery Vehicle, LLC (the “Recovery Vehicle”), hereby

moves this Court to continue the hearings scheduled for August 2, 2021, at 10:00

AM, stating as follows:

         1.      There is a hearing scheduled before this Court on August 2, 2021, at

10:00 AM on multiple matters in the Tran Bankruptcy and associated Adversary

Proceedings.

         2.      The Recovery Vehicle and Debtor continue to make significant

progress in their attempt to resolve their disputes in all adversary proceedings and

contested matters.

         3.      One example of the progress exists in the form of the dismissal of one

of the three adversary proceedings (Adv. Proc. No.: 8:21-ap-00006-CPM).

         4.      The parties expect to have the other two adversary proceedings resolved

within thirty (30) days.
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      5.      Accordingly, the Recovery Vehicle respectfully requests the Court

continue all hearings in the adversary proceedings and contested matters, including

the August 2 hearings, for thirty (30) days, until at least September 2, 2021, while

the parties attempt to finalize a global resolution.

      6.       Debtor consents to the continuance of the hearings.

      WHEREFORE, Q3 Investments Recovery Vehicle, LLC respectfully requests

the entry of an order continuing all hearings in the adversary proceedings and

contested matters, including the August 2 hearings, for thirty (30) days, until at least

September 2, 2021, while the parties attempt to finalize a global resolution.

Dated: July 29, 2021
                                        Respectfully Submitted,

                                        /s/ Paul Thanasides
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                                        Vehicle, LLC



                                           2
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on July 29, 2021, a true and correct copy of the

foregoing was electronically filed and served using the Court’s CM/ECF system,

and via U.S. Mail to all parties on the attached matrix.

                                       /s/ Paul Thanasides
                                       Paul Thanasides




                                          3
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Label Matrix for local noticing               AmeriCredit Financial Services, Inc., dba GM     Joy Kelley Augustine
113A-8                                        P O Box 183853                                   Read & Kelley Estate Services
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Thu Jul 29 09:08:51 EDT 2021
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                               Case 8:20-bk-05750-CPM       Doc 177          Filed 07/29/21   Page 7 of 12
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                              Case 8:20-bk-05750-CPM       Doc 177        Filed 07/29/21   Page 9 of 12
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                             Case 8:20-bk-05750-CPM      Doc 177          Filed 07/29/21   Page 10 of 12
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                            Case 8:20-bk-05750-CPM                Doc 177         Filed 07/29/21       Page 11 of 12
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Paul A Humbert +                                     Jeremy A Rill +                                      Note: Entries with a ’+’ at the end of the
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
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                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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